       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 1 of 11




           IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION
_____________________________
                               )
STATE OF TENNESSEE, et al., )
                               )
               Plaintiffs,     )
                               )
v.                             )    Civil Action No. 2:24-cv-84-DPM
                               )
EQUAL EMPLOYMENT               )
OPPORTUNITY COMMISSION, )
                               )
               Defendant.      )
_____________________________)

     DEFENDANT’S MEMORANDUM IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL OR
 TEMPORARY ADMINISTRATIVE STAY OF AGENCY ACTION
      Defendant Equal Employment Opportunity Commission (EEOC)

opposes Plaintiffs’ motion for injunction pending appeal or temporary

administrative stay of agency action, see Mot. (ECF No. 67). This Court

properly denied Plaintiff States’ motion for preliminary relief and dismissed
this action, see PI Op. (ECF No. 63), and the Court should deny Plaintiffs’

motion for injunction pending appeal for the same reasons.

      Indeed, the Plaintiff States do not identify any specific error in this

Court’s prior opinion, and instead just relitigate the same points that were

already thoroughly briefed, orally argued, and decided in connection with their
preliminary-injunction motion. For all the same reasons this Court rejected

                                      -1-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 2 of 11




those arguments the first time, it should likewise reject Plaintiffs’ second

request for an immediate injunction.
                         STANDARD OF REVIEW
      As Plaintiffs acknowledge, their motion is governed by “[t]he same four-

part injunction standard,” Mot. at 2, as a request for a preliminary injunction,

which is “an extraordinary and drastic remedy” that “is never awarded as of

right.” Munaf v. Geren, 553 U.S. 674, 689-90 (2008). To obtain such relief,

Plaintiffs “must show (1) the likelihood of success on the merits; (2) the

likelihood of irreparable injury to appellants absent an injunction; (3) the

absence of any substantial harm to other interested parties if an injunction is

granted; and (4) the absence of any harm to the public interest if an injunction

is granted.” Shrink Missouri Gov’t PAC v. Adams, 151 F.3d 763, 764 (8th Cir.

1998); see also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

The moving party “bears the burden of proving all” four factors. Watkins Inc.

v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003).
                                ARGUMENT
      Plaintiffs’ motion does not ask this Court to reconsider its prior

determination that they lack standing to pursue their claims. See Fed. R. Civ.

P. 59(e). Instead, Plaintiffs ask this Court to ignore its finding that they lack

standing—a constitutional prerequisite to availing themselves of this forum,

see Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)—and issue



                                       -2-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 3 of 11




“extraordinary” injunctive relief in their favor, Munaf, 553 U.S. at 689. Issuing

injunctive relief after concluding that jurisdiction is lacking would be contrary

to the rule that, once a court concludes jurisdiction does not exist, “the only

function remaining to the court is that of announcing the fact and dismissing

the cause.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998).

Plaintiffs’ motion does not cite any authority justifying an injunction pending

appeal after a jurisdictional dismissal.
      In any event, Plaintiffs’ motion fails to demonstrate their entitlement to

the extraordinary remedy of an injunction pending appeal even under ordinary

standards. Plaintiffs’ motion distorts the governing legal standard, does not

identify any error in this Court’s prior opinion, and fails to establish any

immediate harm warranting an injunction pending appeal.

      1.    At the outset, Plaintiffs try to lower their burden and argue that

they need not prove a likelihood of success on appeal, and instead need only

identify “serious legal issues” or “difficult and close” questions. Mot. at 3. But
the two leading cases they cite arise in the distinct context of granting stays of

district court proceedings pending appellate proceedings, not the question of

whether to stay (let alone grant) injunctive relief pending appeal. See Stuart v.

State Farm Fire & Cas. Co., No. 4:14-cv-4001, 2017 WL 5952872, at *2 (W.D.

Ark. Jan. 25, 2017) (“Defendant requests a stay of all further proceedings in
this case until the Eighth Circuit rules on its appeal of the Court’s class


                                       -3-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 4 of 11




certification ruling.”); Perrin v. Papa Johns Int’l, Inc., No. 4:09-cv-1335, 2014

WL 306250, at *1 (E.D. Mo. Jan. 28, 2014) (same).

      On the question whether to grant preliminary injunctive relief, moreover,

the Supreme Court recently confirmed, once again, that “[u]nder the traditional

standard” the movant must “make a clear showing that it ‘is likely to succeed

on the merits.’” Starbucks Corp. v. McKinney, No. 23-367, --- S. Ct. ----, 2024

WL 2964141, at *5 (U.S. June 13, 2024) (quoting Winter, 555 U.S. at 20).
Granting injunctive relief under a lesser standard—such as “reasonable cause

to believe” or “substantial and not frivolous”—would constitute a “watered-

down approach to equity.” Id. at *6. Thus, Plaintiffs cannot obtain their

requested injunctive relief based only on “serious legal issues,” rather than a

clear showing of likelihood of success on the merits, which they do not even

attempt to satisfy.

      2.    As for the substance of Plaintiffs’ motion, it largely contains

repackaged versions of the same arguments that this Court already rejected.
For example, Plaintiffs claim standing “because the Final Rule directly

regulates them as employers.” Mot. at 3. But Plaintiffs still do not offer any

reason to think that the factual circumstances necessary for their injury to arise

are anything more than hypothetical. See PI Op. at 8-9 (listing numerous

contingencies that would have to occur before the Plaintiff States would ever
suffer an enforcement action arising from needing “to accommodate abortions


                                       -4-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 5 of 11




in the absence of any underlying mental or physical condition”). And courts

generally reject post-judgment motions that “are nothing more than a

reiteration of the objections and arguments already considered[.]” Knutson v.

AG Processing, Inc., 302 F. Supp. 2d 1023, 1036 (N.D. Iowa 2004).

      Plaintiffs briefly assert that “no proof of standing is required at the

dismissal stage,” but many of the flaws in their standing theories are legal in

nature. See PI Op. at 8-15. And in any event, this motion for an injunction
pending appeal—and their prior motion for a preliminary injunction—do

require proof. See Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (“And what

is at issue here is not even a defendant’s motion for summary judgment, but a

plaintiff’s motion for preliminary injunctive relief, as to which the requirement

for substantial proof is much higher.”); Watkins Inc., 346 F.3d at 844. This

Court analyzed Plaintiffs’ alleged economic harm in detail, see PI Op. at 13-

15, concluding that the States have not “offered particulars about how the

challenged slice [of the Final Rule] imposes additional compliance costs
beyond those required by the unchallenged parts of the regulation, or even the

Act itself,” and that “these costs are not fairly traceable to any threat of

enforcement.” Id. at 14. Plaintiffs do not point to any evidence that the Court

purportedly overlooked or any other errors in the Court’s analysis. Nor do

Plaintiffs offer any basis for disregarding their concessions that their injury
“could be a few dollars in this case, but we don’t know,” and that “[t]here is no


                                       -5-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 6 of 11




evidence . . . in the record” about whether their claimed costs have already

been incurred such that prospective relief would not redress them. PI Hr’g Tr.

at 14; see PI Op. at 13-14.

      The recent decision from the Western District of Louisiana does not cast

doubt on the Court’s conclusions in this case. See Mot. at 3 (citing Louisiana

v. EEOC, --- F. Supp. 3d ----, Nos. 2:24-cv-629, 691, 2024 WL 3034006 (W.D.

La. June 17, 2024)). Defendant respectfully disagrees with that decision,
among other reasons because that Court accepted “compliance costs” as

sufficient injury-in-fact regardless of the likelihood of “any employee or DOJ

enforcement lawsuits under the PWFA,” id. at *4. Compliance costs do not

suffice for Article III injury if the factual circumstances purportedly requiring

those costs are speculative. See Clapper v. Amnesty Int’l USA, 568 U.S. 398,

416 (2013) (“Respondents’ contention that they have standing because they

incurred certain costs as a reasonable reaction to a risk of harm is unavailing—

because the harm respondents seek to avoid is not certainly impending.”); PI
Op. at 15. The Louisiana court also concluded that the States had established

sovereign injuries based on their laws prohibiting “purely elective abortions,”

Louisiana, 2024 WL 3034006 at *5, without considering—as this Court did—

whether those laws actually conflict with the Final Rule in any way. See PI Op.

at 17-20. Again, the Plaintiff States here still do not point to any State law that
actually conflicts with what the Final Rule requires. And notably, although


                                       -6-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 7 of 11




Plaintiffs here contend that Louisiana is “based on pleadings and arguments

that mirror Plaintiff States’ here,” Mot. at 3, both sets of plaintiffs in the

consolidated Louisiana action believed this Court’s decision was factually

distinguishable. See Louisiana, No. 2:24-cv-629, ECF No. 46 at 5 (W.D. La.

filed June 14, 2024); U.S. Conf. of Catholic Bishops, No. 2:24-cv-691, ECF

No. 52 at 5 (W.D. La. filed June 14, 2024).

      Finally, aside from incorporating their preliminary-injunction briefing by
reference, see Mot. at 5—to which Defendant has already fully responded—

Plaintiffs’ only other argument on likelihood of success is to highlight this

Court’s “tentative conclusion . . . that the States have the better argument on

the text” of the PWFA. PI Op. at 26; see Mot. at 5. But that tentative conclusion

was just that—tentative—and this Court already determined that such a

tentative conclusion did not constitute “a compelling case” for injunctive relief.

Id. at 28. The same should be true in the context of this motion. And Plaintiffs

ignore that the Court acknowledged that EEOC also presented “[g]ood
arguments” in favor of its interpretation, id., and that multiple courts had ruled

consistently with EEOC’s position, id. at 26. Plaintiffs also fail to address other

problems associated with their interpretation, such as the Court’s determination

that a finding in their favor would exclude coverage for a “healthy employee

who asks to leave work to attend a routine pre-natal appointment”—an
outcome that Plaintiffs themselves disclaim, PI Op. at 27. Plaintiffs therefore


                                       -7-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 8 of 11




have not established a likelihood of success on their claims.

      3.    Plaintiffs’ two-sentence argument that they will suffer irreparable

harm, see Mot. at 5-6, should likewise be rejected. In deciding whether to stay

or grant an injunction pending appeal, “a showing of irreparable injury”

without the requested relief is “required,” Brakebill v. Jaeger, 905 F.3d 553,

557 (8th Cir. 2018), and that showing must entail “harm [that] is certain and

great and of such imminence that there is a clear and present need for equitable
relief,” Novus Franchising, Inc. v. Dawson, 725 F.3d 885, 895 (8th Cir. 2013).

This Court already determined that Plaintiffs “haven’t shown a likelihood of

irreparable harm,” particularly because their narrow challenge to the Final Rule

“seems unlikely to flower into . . . real-world disputes.” PI Op. at 28. Indeed,

Plaintiffs’ claims of irreparable harm are even weaker today than they were in

their original motion for preliminary relief; the Final Rule took effect on

June 18, 2024, prior to the filing of the instant motion, and yet Plaintiffs have

not produced any new evidence or arguments demonstrating that their claimed
irreparable harms have, in fact, materialized.

      Furthermore, the timing of Plaintiffs’ motion creates a more fundamental

problem. An injunction pending appeal “asks the court to maintain the status

quo until the court rules on the merits of the legal action to which the movant

is a party.” Walker v. Lockhart, 678 F.2d 68, 70 (8th Cir. 1982) (emphasis
added). Here, because the Rule took effect on June 18, Plaintiffs’ requested


                                      -8-
       Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 9 of 11




injunction would alter the status quo by enjoining the Final Rule in whole or

in part.

      That reversal of the status quo would significantly harm the public

interest. Contra Mot. at 6. As EEOC explained previously, the Final Rule

contains information that assists millions of employers and employees in

ensuring compliance with the PWFA, and injunctive relief would confuse and

delay private individuals’ efforts to vindicate their rights under the statute. See
Def. PI Opp. (ECF No. 34) at 48. That is all the more true now, when the Final

Rule has actually taken effect and EEOC, workers, and employers are relying

on its provisions. Similarly, enjoining the EEOC from “effectuating [a] statute”

is “a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012)

(Roberts, C.J., in chambers) (cleaned up).

      Putting aside that Plaintiffs should not get a second bite at the apple by

relitigating the same claims but seeking narrower relief this time around, see

Mot. at 6-7 (citing Louisiana as “model[ing] the potentially narrow scope of
any injunction this Court could grant”), the above harms would still occur even

if the Court were to order more limited relief. This Court has already correctly

concluded that it “would be inequitable to grant” immediate injunctive relief

“on this record,” PI Op. at 20, and Plaintiffs do not offer anything justifying a

departure from that conclusion. Nothing in the Louisiana case changes the
record here, and as already noted, the United States disagrees with the relief


                                       -9-
      Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 10 of 11




ordered by that court, including because such relief extends well beyond any

conceivable injury to those plaintiff States as regulated parties.

      4.    Finally, Plaintiffs offer no support for their request for a

“temporary administrative stay of agency action,” or even reference that

request outside the motion’s caption, Mot. at 1. Administrative stays are used

“to give the court sufficient opportunity to consider the merits of the motion

for a stay pending appeal.” Brady v. Nat’l Football League, 638 F.3d 1004,
1005 (8th Cir. 2011). But Plaintiffs here are not requesting a stay of this Court’s

order; they are requesting affirmative injunctive relief altering the status quo.

They cite no practice or precedent justifying a “temporary administrative stay

of agency action” in the form of an injunction pending appeal and granting one

would be contrary to the four-factor test necessary for injunctive relief. Even

if this request were cognizable, then, it would fail for all the reasons set forth

above.
                                CONCLUSION
      Plaintiffs’ motion for an injunction pending appeal, or temporary

administrative stay of agency action, should be denied.


Dated: June 21, 2024           Respectfully submitted,

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                                       -10-
Case 2:24-cv-00084-DPM Document 71 Filed 06/21/24 Page 11 of 11




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                             -11-
